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 7
                                     UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,
11
                                   Plaintiff,
12                v.

13
     DARYOL RICHMOND, aka “Nutcase,”                    CASE NO. 1:21-CR-00184-DAD-BAM
14   “Nuttcase,” and “Nuttcase 3x,”
     TELVIN BREAUX, aka “AJ” and “Lilcup,”              ORDER UNSEALING CASE
15   HOLLY WHITE,
     CECELIA ALLEN, aka “Cece” and “Cee Cee,”
16   FANTASIA BROWN, aka “Tay Tay,”
     TONISHA BROWN,
17   FANTESIA DAVIS, aka “Tesia,” and
     SHANICE WHITE,
18
                                   Defendants.
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22          Good cause appearing due to the arrest of the remaining two defendants and their pending initial
23 appearances in the Central District of California, it is hereby ordered that the superseding indictment,

24 arrest warrant, and other court filings in this case be fully UNSEALED.

25

26 IT IS SO ORDERED.
27      Dated:     February 11, 2022                         /s/ Barbara A. McAuliffe              _
28                                                     UNITED STATES MAGISTRATE JUDGE


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